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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

                   Plaintiff,

      vs.                                       Case No. 21-cr-444-JEB


BRIAN CHRISTOPHER MOCK,

                   Defendant.


    DEFENDANT’S OMNIBUS RESPONSE TO GOVERNMENT’S
           MOTIONS IN LIMINE (DE 66, 67, & 68)

      Brian Mock responds to the government’s motions in limine.

      1.     The defense notes at the outset that it has no obligation to reveal

its case to the government until after the prosecution rests. That said, the

defense objects to very little because a bench trial obviates the typical

concerns about the evidence’s effect on the jury.

      2.     The first motion seeks to exclude evidence about the precise

locations of the Capitol’s surveillance cameras (DE 66). The defense doesn’t

expect this evidence to be relevant. If it turns out to be, the defense has no

objection to in camera review—the government’s concerns about making

such protocols part of a public trial aren’t silly. However, there’s an
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important distinction here that Judge Contreras observed in a February

ruling on roughly the same motion.               “And as the Government

acknowledges, the Court’s ruling does not prevent Defendant from probing

what Capitol Police’s cameras show, and what they don’t, by asking about

the general location of each camera.” United States v. Rhine, 21-CR-678-RC,

2023 WL 2072450, *11 (D.D.C. Feb. 17, 2023) (alteration omitted) (emphasis

added). Indeed, a general location question is useful to the Court, the

parties, witnesses and the public if it orients the viewers to different

cameras’ recording the same event from different angles and distances.

      3.     As for the motion to exclude certain testimony about U.S. Secret

Service protocols (DE 67), the defense states that it doesn’t expect those

protocols to be relevant generally. However, if a witness references a

particular protocol, say, to explain his or her actions, then surely questioning

about it would be fair game.

      4.     Finally, the motion to exclude improper argument (DE 68) is

well-taken. No doubt Mock can testify to what he saw and heard that day.

But the defense doesn’t intend to raise entrapment by estoppel. Again, if the

trial evidence turns out to support such a defense, the Court should permit

it. But, based on the contents of the government’s discovery productions




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thus far, the defense is hard pressed to imagine how one might coalesce at

trial.

         Dated at Madison, Wisconsin, this April 24, 2023.
                                              Respectfully submitted,


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                                              Counsel for Mr. Mock

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